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FOR 'I‘HE WESTERN DIS'I‘RICT OF TENNESSEE
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U'NITED STATES OF mRICA

v. No. 05-20251-04-Ma
nms/si
w.c . woo-rm CLEVF£§D U_§_ _F{~{WGSM

07 !`"J. H;":»JV`IIDH!S

ORDER CONTINUING ARRAIGNMENT AND
SPECIF'YING PERIOD OF EXCLUDABLE DELAY UN'DER TI'IE SPEEDY TRIAL ACT

 

The Defendant’s counsel has notified the Court that in the
interests of justice that this matter be continued. Pursuant to
the Speedy Trial Act, as set in 18 U.S.C. §3161(h)(8)(A),
defendant’s period of excludable delay may be granted if the ends
of justice are served.

The Arraignment/Bond Review is therefore continued and reset
to Wednesday, Julg 20, 3995, a§_LO:OO a.m. in Courtroom §5, 3rd
Elgg;, Federal Building, 167 N. Main Street, Memphis, Tennessee.

It is therefore ORDERED that the time period of
July 13l 2005 through, July 19l 2005 be excluded from the time its
imposed by the Speedy Trial Act for trial of this case, due to the

interests of justice.

This g gfyaay of July, 2005.
’@AMLL f QM/w~

Diane K. Vescovo
UNITED STATES MAGISTRATE JUDGE

 

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with Fm|e 55 and/or 321b\ FRCrP on ‘ -

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 2:05-CR-20251 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

